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3    Ross Cornell, Esq. (SBN 210413)
     Post Office Box 1989, Suite 305
4    Big Bear Lake, CA 92315
5    rc@rosscornelllaw.com
     Phone: (562) 612-1708
6    Fax: (562) 394-9556
7
     Attorneys of Record for Plaintiff,
8    Bryan Estrada
9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11

12
     Bryan Estrada,                               Case No. 5:22-cv-333
13

14
                      Plaintiff,
                                                  COMPLAINT
15                    v.
16
     Juan Serafin; Esther L. Mares and Does 1-
17
     10, inclusive,
18

19              Defendants.
20

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28                                          -1-
29
                                          COMPLAINT

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1
                               NATURE OF THE ACTION

2                 1.    This is an action seeking to remedy unlawful discrimination by
3    the Defendants against the Plaintiff in the Defendants’ places of public
4    accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
5    12101, et seq.] (the “ADA”).
6

7
                                          PARTIES
8
                  2.    Plaintiff, Bryan Estrada, is a paraplegic resident of the state of
9
     California, County of Riverside, who requires the use of a wheelchair for mobility
10
     purposes and who is therefore a “person with a disability” within the meaning of
11
     the ADA and Cal.Government Code § 12926.
12
                  3.    The Defendants (defined below) discriminate against
13

14
     people with mobility disabilities in the full and equal enjoyment of the goods,

15   services, facilities, privileges, advantages, or accommodations on the basis of their
16   mobility disability at the Subject Property (defined below) in violation of the ADA
17   [42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
18                4.    The Defendants' failure to make reasonable modifications in
19   policies, practices, or procedures when such modifications are necessary to afford
20   goods, services, facilities, privileges, advantages, or accommodations to
21
     individuals with disabilities prevented people with mobility disabilities from
22
     enjoying fair and equal access to the Subject Property (defined below) in violation
23
     of the ADA [42 U.S.C. § 12182(b)(2)(A)(ii)].
24
                  5.    Defendant, Juan Serafin, owns, operates, or leases
25
     real property located at 10611 Magnolia Ave., Riverside, CA 92505, also known as
26
     Riverside County Assessor’s Parcel No. 143-290-006 (the “Subject Property”).
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28                                           -2-
29
                                           COMPLAINT

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1
                   6.     Defendant, Esther L. Mares, owns, operates, or leases

2    real property located at 10611 Magnolia Ave., Riverside, CA 92505, also known as
3    Riverside County Assessor’s Parcel No. 143-290-006 (the “Subject Property”).
4                  7.     The Subject Property is a commercial facility open to the
5    general public, is a public accommodation, and is a business establishment insofar
6    as goods and/or services are made available to the general public at Serafin
7
     Collision thereat. Defendant Does 1 through 10, inclusive, are sued herein under
8
     fictitious names. Their true names and capacities are unknown to the Plaintiff.
9
     When their true names and capacities are ascertained, Plaintiff will amend this
10
     complaint by inserting their true names and capacities herein. Plaintiff is informed
11
     and believes and thereon alleges that each of the fictitiously named Defendants are
12
     responsible in some manner for the occurrences herein alleged, and that the harm
13

14
     to Plaintiff herein alleged were proximately caused by those Defendants.

15

16                              JURISDICTION AND VENUE
17                 8.     This Court has jurisdiction over the subject matter of this action
18   pursuant 28 U.S.C. § 1331and28 U.S.C. §§1343(a)(3) and 1343(a)(4) for violations
19   of the ADA.
20                 9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
21
     based on the fact that the real property that is the subject of this action is located in
22
     this district and the Plaintiff’s causes of action arose in this district.
23

24
                                   STATEMENT OF FACTS
25
                   10.    Parking spaces, accessible aisles, paths of travel, signage,
26

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28                                             -3-
29
                                             COMPLAINT

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     doorways, service counters, customer areas and goods/services are among the

2    facilities, privileges and advantages offered by the Defendants to patrons of the
3    Subject Property.
4                 11.    The Subject Property does not comply with the minimum
5    requirements of the ADA and is therefore not equally accessible to persons with
6    mobility disabilities.
7
                  12.    In February, 2021 and continuously from that time to the
8
     Present, and currently, the Subject Property has not been in compliance with the
9
     ADA (the “Barriers”):
10
                         A.     There was no diagonal striped marking and no blue
11
     border around where an access aisle is supposed to exist adjacent to the designated
12
     accessible parking space serving the Subject Property.
13

14
                         B.     There were no accessible paths of travel from public

15   transportations stops, accessible parking, public streets and sidewalks to the
16   building entrances serving the Subject Property.
17                13.    Plaintiff personally encountered one or more of the Barriers
18   at the Subject Property in February, 2021, including a lack of parking access aisle
19   and a lack of accessible path of travel from the public right of way. Without a
20   blue-striped parking access aisle, Plaintiff cannot safely exit the vehicle to
21
     assemble/disassemble his wheelchair.
22
                  14.    Between February, 2021 and the present, the Plaintiff had
23
     personal knowledge of the existence of Barriers at the Subject Property, which are
24
     located in the parking area and in the building approach. In addition to the
25
     Barriers, based on a visual inspection, Plaintiff alleges the following barriers also
26
     exist on the Subject Property: the path of travel that crosses or adjoins a vehicular
27

28                                            -4-
29
                                            COMPLAINT

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1
     way is not separated by curbs, railing or other elements between the pedestrian

2    way and the vehicular area; the force required to operate the primary entrance door
3    exceeds 5 lbs; there was no tow-away signage.
4                 15.   The existence of Barriers, the implementation of discriminatory
5    policies, practices and procedures, and other ADA violations at the Subject
6    Property reasonably dissuaded or deterred Plaintiff from accessing the Subject
7
     Property on a particular occasion between February, 2021 and the present.
8
                  16.   On information and belief, the remediation of violations
9
     identified hereinabove, to be identified by the Defendants in discovery, and to be
10
     discovered by Plaintiff’s experts are all readily achievable in that the removal of
11
     them by the Defendants is and has been easily accomplishable without much
12
     difficulty or expense.
13

14
                  17.   Defendants violated the ADA by failing to remove all mobility-

15   related architectural barriers at the Subject Property. On information and belief,
16   Plaintiff alleges that the failure to remove barriers has been knowing, willful and
17   intentional because the barriers described herein are clearly visible and tend to be
18   obvious even to a casual observer and because the Defendants operate the Subject
19   Property and have control over conditions thereat and as such they have, and have
20   had, the means and ability to make the necessary remediation of access barriers if
21
     they had ever so intended.
22
                  18.   On information and belief, access barriers at the Subject
23
     Property are being consciously ignored by the Defendants; the Defendants have
24
     knowingly disregarded the ongoing duty to remove the Barriers in compliance with
25
     the ADA. Plaintiff further alleges on information and belief that there are other
26
     ADA violations and unlawful architectural barriers at the Subject Property that
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28                                           -5-
29
                                           COMPLAINT

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1
     relate to Plaintiff’s mobility disability that will be determined in discovery, the

2    remediation of which is required under the ADA.
3                 19.    Plaintiff hereby seeks an injunctive relief order for the
4    remediation and removal all barriers related to his mobility disability, including but
5    not limited to the Barriers, whether presently known or unknown. The Subject
6    Property is within approximately nine miles from Plaintiff's place of employment,
7
     and Plaintiff is in the Riverside area regularly and consistently for personal
8
     reasons. Plaintiff intends to return to the Subject Property at least several times
9
     within the next twelve months and will observe and confirm whether access
10
     barriers have been remediated and removed at the Subject Property. Plaintiff
11
     would benefit from barrier removal by having the equal opportunity to use the
12
     services provided at the auto repair business located at the Subject Property if it
13

14
     were made accessible to him, which he would be inclined to do if the need auto

15   repair services were to arise in the area of the Subject Property in the future.
16   Plaintiff is presently deterred from attempting to use the auto repair services
17   provided at the Subject Property because of the Barriers.
18                20.    Even if strictly compliant barrier removal were determined to
19   be structurally or otherwise impracticable, there are many alternative methods of
20   providing accommodations that are readily apparent and that could provide a
21
     greater degree of accessibility to the Plaintiff and similarly situated persons but for
22
     the Defendants’ discriminatory policies, practices and procedures and Defendants’
23
     conscious indifference to their legal obligations and to the rights of persons with
24
     mobility disabilities. Defendants’ failure to implement reasonable available
25
     alternative methods of providing access violates the ADA [42 U.S.C. §
26
     12182(b)(2)(A)(v)].
27

28                                            -6-
29
                                            COMPLAINT

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1
                  21.    The violations and references to code sections herein are not

2    all-inclusive. Plaintiff will amend this complaint to provide a complete description
3    of the full scope of ADA violations after conducting a comprehensive expert site
4    inspection and other discovery. For the purposes of this Complaint, Plaintiff asserts
5    that the barriers alleged herein violate one or more of the ADA’s implementing
6    regulations. The Defendants have maintained and continue to maintain
7
     discriminatory policies, procedures and practices that disregard their obligations
8
     under the ADA by allocating resources for physical improvements to the Subject
9
     Property that were did not provide legally required accessibility improvements, by
10
     failing to conduct ADA self-inspections or create ADA compliance plans
11
     regarding the Subject Property, by causing alterations to be made to the Subject
12
     Property in disregard of ADA requirements, and for failing and refusing to make
13

14
     necessary accommodations for persons with mobility disabilities at the Subject

15   Property. Plaintiff seeks a declaration that the Defendants’ disability rights
16   compliance policies, procedures and practices are discriminatory and violate the
17   ADA.
18                             FIRST CAUSE OF ACTION
19
                              Discrimination Based on Disability
                                 [42 U.S.C. §§ 12101, et seq.]
20                            By Plaintiff against all Defendants
21

22                22.    Plaintiff re-alleges and incorporates by reference as though
23   fully set forth herein the allegations contained in all prior paragraphs of this
24   complaint.
25
                  23.    The ADA obligates owners, operators, lessees and lessors of
26
     public accommodations to ensure that the privileges, advantages, accommodations,
27
     facilities, goods and services are offered fully and equally to persons with
28                                            -7-
29
                                            COMPLAINT

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     disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §

2    12182(a)].
3                 24.    Discrimination is defined in the ADA, inter alia, as follows:
4                        A.     A failure to remove architectural barriers where such
5    removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
6    barriers are identified and described in the Americans with Disabilities Act
7
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
8
                         B.     A failure to make alterations in such a manner that, to the
9
     maximum extent feasible, the altered portions of the facility are readily accessible
10
     to and usable by individuals with disabilities, including individuals who use
11
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
12
     the altered area and the bathrooms, telephones, and drinking fountains serving the
13

14
     altered area, are readily accessible to and usable by individuals with disabilities [42

15   U.S.C. § 12183(a)(2)].
16                       C.     Where an entity can demonstrate that the removal of a
17   barrier is not readily achievable, a failure to make such goods, services, facilities,
18   privileges, advantages, or accommodations available through alternative methods
19   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
20                       D.     A failure to make reasonable modifications in
21
     policies, practices, or procedures, when such modifications are necessary to afford
22
     such goods, services, facilities, privileges, advantages, or accommodations to
23
     individuals with disabilities, unless the entity can demonstrate that making such
24
     modifications would fundamentally alter the nature of such goods, services,
25
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
26
     12182(b)(2)(A)(ii)].
27

28                                            -8-
29
                                            COMPLAINT

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1
                 25.    The ADA, the ADAAG’s 1991 Standards (the “1991

2    Standards”) and 2010 Standards (the “2010 Standards”), and the California
3    Building Code (the “CBC”) contain minimum standards that constitute legal
4    requirements regarding wheelchair accessibility at places of public
5    accommodation:
6                       A.    To qualify as a reserved handicap parking space, the
7
     space must be properly marked and designated. Under the ADA, the method,
8
     color of marking and length of the parking space are to be addressed by state or
9
     local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
10
     and 503].
11
                        B.    At least one accessible route must be provided from
12
     public transportation stops, accessible parking, and accessible passenger
13
     loading zones, and public streets or sidewalks to the accessible building
14
     entrance they serve. The accessible route must, to the maximum extent
15
     feasible, coincide with the route for the general public, must connect
16

17
     accessible buildings, facilities, elements, and spaces that are on the same

18
     site, and at least one accessible route must connect accessible building or
19   facility entrances with all accessible spaces and elements and with all
20   accessible dwelling units within the building or facility [1991 Standards
21   §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
22               26.    The Defendants have failed to comply with minimum
23   ADA standards and have discriminated against persons with mobility
24   disabilities on the basis of thereof. Each of the barriers and accessibility
25   violations set forth above is readily achievable to remove, is the result of an
26   alteration that was completed without meeting minimum ADA standards,
27   or could be easily remediated by implementation of one or more available
28                                          -9-
29
                                          COMPLAINT

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1
     alternative accommodations. Accordingly, the Defendants have violated the

2
     ADA.
3                27.    The Defendants are obligated to maintain in operable
4    working condition those features of the Subject Property’s facilities and
5    equipment that are required to be readily accessible to and usable by
6    Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
7    36.211(a)]. The Defendants failure to ensure that accessible facilities at the
8    Subject Property were available and ready to be used by the Plaintiff
9    violates the ADA.
10               28.    The Defendants have a duty to remove architectural
11   barriers where readily achievable, to make alterations that are consistent
12   with minimum ADA standards and to provide alternative accommodations
13   where necessary to provide wheelchair access. The Defendants benign
14
     neglect of these duties, together with their general apathy and indifference
15
     towards persons with disabilities, violates the ADA.
16
                 29.    The Defendants have an obligation to maintain policies,
17
     practices and procedures that do not discriminate against the Plaintiff and
18
     similarly situated persons with mobility disabilities on the basis of their
19
     disabilities. The Defendants have maintained and continue to maintain a policy of
20
     disregarding their obligations under the ADA, of allocating resources for
21
     improvements insufficient to satisfy legal requirements regarding accessibility
22

23
     improvements, of failing to conduct ADA self-inspections or create ADA

24   compliance plans, of causing alterations to be made to the Subject Property in
25   disregard of ADA requirements, and of failing and refusing to make necessary
26   accommodations for persons with mobility disabilities at the Subject Property, in
27   violation of the ADA.
28                                          -10-
29
                                          COMPLAINT

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1
                  30.   The Defendants wrongful conduct is continuing in that

2
     Defendants continue to deny full, fair and equal access to their business
3    establishment and full, fair and equal accommodations, advantages,
4    facilities, privileges and services to Plaintiff as a disabled person due to
5    Plaintiff’s disability. The foregoing conduct constitutes unlawful
6    discrimination against the Plaintiff and other mobility disabled persons
7    who, like the Plaintiff, will benefit from an order that the Defendants
8    remove barriers and improve access by complying with minimum ADA
9    standards.
10

11                             PRAYER FOR RELIEF
12         Plaintiff prays to this Court for injunctive, declaratory and all other
13
     appropriate relief under the ADA , including but not limited to reasonable
14
     attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
15
     12205.
16
           Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
17         not seek injunctive relief under the Unruh Act or Disabled Persons
18
           Act at all by way of this action.
19   Respectfully submitted,
20
     Dated: 02/24/2022              LAW OFFICES OF ROSS CORNELL, APC
21

22
                                    By: /s/ Ross Cornell
23
                                        Ross Cornell, Esq.,
24                                      Attorneys for Plaintiff,
25
                                        Bryan Estrada

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29
                                        COMPLAINT

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